Case 1:09-Cv-00597-LI\/|B-TCB Document 38-15 Filed 10/23/09 Page 1 of 2 Page|D# 635

EXHIBIT N

ease 1:09-cv-00597-LMB-TCB Documem 33-15 Filed 10/23/09 Page 2 of 2 Pagléqgr#le®`al

Roth, Melissa R.

From: D:`ckinson, Nliche||e J.

Sent: Wednesday, October 14, 2009 3:12 PNl
To: |Sabe| N| Humphrey; Randy Yavitz

Cc: Roth, |Vlelissa R.

Subject: Loomis

Counse|:

During our call on Thursday. October 9, 2009, you indicated that it was reasonable for us to expect to receive doe

Loomis and Jenni Loomis' document production yesterday. We did not. P|ease advise today as to when you will
produce the documents

N|iche||e

10/22/2009

